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TO BE FILED ON PUBLIC DOCKET

 

To: Chambers of Magistrate Judge Carolyn K. Delaney

via Courtroom Deputy Judy Streeter, jstreeter@caed.uscourts gov
From: Jackie Lee Brown, Guardian Ad Litem for Minor Plaintiffs
Re: Application for Order Authorizing Blocked Account Disbursement

Prasad v. County of Sutter, E.D, Cal. Case No. 2:12-cv-00592-TLN-CKD
APPLICATION
Pursuant to the procedure set forth in the relevant blocked account order entered under
seal by the Court in this case and E.D. Cal. L.R. 202(f), court-appointed guardian ad litem Jackie

Lee Brown hereby submits the following request for an order authorizing an interim
disbursement of blocked account funds.

Name (initials only) of minor plaintiff/blocked account beneficiary:

 

 

 

 

 

“TOR a . es [Full Name To Be Filed Under Seal]
Bank Account Number: To Be Filed Under Seal
Purpose(s) for which funds are requested:
T.A.P.B car.
Amount requested: 4% - OO}
Requested payee: lackse Lec ‘v0 win

 

Documentation supporting this request, if available, is attached (or filed und
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DATED: _\D\WI\4 HL

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[PROPOSED] ORDER

The Court hereby approves this request, and authorizes the withdrawal of the requested
amount from the indicated blocked account for disbursement to the payee identified above.

  

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IT ISSO ORDERED.

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Hon. Carolyn K. Delaney /
Magistrate Judge
United States District Court

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